Case: 1:05-cv-00582-SAS-KLL Doc #: 258 Filed: 07/02/12 Page: 1 of 2 PAGEID #: 1408




                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


JASON RATCLIFF, et al.,                 :
                                        :    NO. 1:05-CV-00582
      Plaintiffs,                       :
                                        :    OPINION AND ORDER
                                        :
    v.                                  :
                                        :
                                        :
ERNIE MOORE, et al.,                    :
                                        :
      Defendants.                       :


                This matter is before the Court on the Magistrate Judge’s

June 1, 2012 Report and Recommendation (doc. 251).                In her Report

and      Recommendation,     the      Magistrate   Judge       recommends      that

Defendants’ motion to dismiss be granted and this matter closed on

the Court’s docket.

                Proper Notice was given to the parties under 28 U.S.C. §

636(b)(1)(C), including notice that the parties would waive further

appeal     if    they   failed   to   file   objections   to    the   Report   and

Recommendation in a timely manner.            United States v. Walters, 638

F.2d 947 (6th Cir. 1981).              As of the date of this Order, no

objections have been filed.

                Having reviewed this matter pursuant to 28 U.S.C. § 636,

the Court finds the Magistrate Judge’s Report and Recommendation

thorough, well-reasoned, and correct.               Accordingly, the Court

hereby ADOPTS and AFFIRMS it in all respects (doc. 251), GRANTS

Defendants’ Motion to Dismiss (doc. 248), and CLOSES this case on
Case: 1:05-cv-00582-SAS-KLL Doc #: 258 Filed: 07/02/12 Page: 2 of 2 PAGEID #: 1409



the Court’s docket.

                    SO ORDERED.

Dated: June 28, 2012                 s/S. Arthur Spiegel
                                     S. Arthur Spiegel
                                     United States Senior District Judge




                                       -2-
